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15                              UNITED STATES DISTRICT COURT
16
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                       OAKLAND DIVISION
18
      WHATSAPP LLC, and
19    META PLATFORMS INC.,                        Case No. 4:19-cv-07123-PJH
                                        )
20                                      )
                      Plaintiffs,       )         DECLARATION OF MICAH G.
21                                      )         BLOCK IN SUPPORT OF ADMINIS-
             v.                         )         TRATIVE MOTION TO CONSIDER
22                                                WHETHER ANOTHER PARTY’S
                                        )         MATERIAL SHOULD BE FILED
      NSO GROUP TECHNOLOGIES LIMITED )            UNDER SEAL
23    and Q CYBER TECHNOLOGIES LIMITED, )
24                                      )         Ctrm: 3
                      Defendants.       )         Judge: Hon. Phyllis J. Hamilton
25                                      )
                                        )
26                                      )         Action Filed: October 29, 2019
27

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      Case 4:19-cv-07123-PJH Document 202-1 Filed 08/21/23 Page 2 of 2



1             I, Micah G. Block, declare as follows:

2             1.        I am partner of the law firm of Davis Polk & Wardwell LLP and admitted to prac-

3     tice before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Platforms Inc.

4     (“Plaintiffs”) in the above-captioned action (the “Action”). I have personal knowledge of the

5     facts set forth below and, if called as a witness in a court of law, could and would testify compe-

6     tently thereto.

7             2.        I submit this Declaration in Support of the Administrative Motion to Consider

8     Whether Another Party’s Material Should Be Filed Under Seal (the “Motion”) filed concurrently

9     herewith.

10            3.        On May 25, 2023, Defendants filed the sealed “Status Report” (and accompany-

11    ing Craig Declaration)

12

13

14

15            4.        On June 13, 2023, Defendants filed the Christofferson Declaration, accompanying

16    Exhibits, and the “Further Status Report,”

17

18`           5.        On June 23, 2023, Plaintiffs filed the “Administrative Motion for an Order Re-

19    garding NSO’s Document Preservation Obligations.”

20            6.        On June 27, 2023, Defendants filed the Craig Declaration, accompanying Exhib-

21    its, and the “Opposition to Plaintiffs’ Administrative Motion.”

22            I declare under the penalty of perjury that the foregoing is true and correct.

23            Executed on the 21st day of August, 2023 at Menlo Park, California

24

25                                                 By:
                                                         /s/ Micah G. Block
26                                                       Micah G. Block
27

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                                                         1
      DECLARATION OF M. BLOCK IN SUPPORT OF ADMINISTRATIVE MOTION TO CONSIDER WHETHER
      ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
      CASE NO. 4:19-CV-07123-PJH
